      Case 4:17-cv-00780-DPM Document 118 Filed 11/02/20 Page 1 of 1



           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                     CENTRAL DIVISION

JAMES ANDREW TANNER                                          PLAINTIFF

v.                       No. 4:17-cv-780-DPM

KURT ZIEGENHORN, in his individual
capacity, and BILL BRYANT, Colonel,
in his official capacity as head of the
Arkansas State Police                                    DEFENDANTS

                                ORDER
     The Court appreciates everyone's efforts getting ready for trial.
Based on the virus exposure of the spouse of one of the lawyers, the
Court concluded that a continuance was needed. The case is re-set for
7 December 2020 second out, subject to any lawyer having a conflict.
     The Court notes the new motion in limine, Doc. 117. Tanner must
respond by 9 November 2020. And the Court discourages any further
pretrial motions.
     So Ordered.


                                  D.P. Marshall Jr.
                                  United States District Judge
